     Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 1 of 49




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


PATRICIA S. PEREZ, individually and on behalf of
her minor child I.R.,


                                    Plaintiff,

       -against- Civil Case No.: l:21-cv-706
                                                                            (DNH/CFH)
NEW PALTZ CENTRAL SCHOOL DISTRICT and
DR. MARIO FERNANDEZ, in his official capacity
as the principal of the New Paltz High School,

                                    Defendants.




                        MEMORANDUM OF LAW IN SUPPORT OF
                         DEFENDANT'S MOTION TO DISMISS




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     Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 2 of 49



                                                  TABLE OF CONTENTS
                                                                                                                                Paee(s)

PRELIMINARY STATEMENT AND RELEVANT FACTUAL BACKGROUND................!


        A. Plaintiffs June 15,2021 Complaint.........................................................................1




        B. Plaintiffs Legal Challenges to New York State Law ..............................................3



        C. Relevant Factual Background...................................................................................6




        D. New York State's Vaccination Laws........................................................................9




ARGUMENT.............................................................................................................................14




        Standard of Review........................................................................................................... 14




        POINT I PLAINTIFFS' CLAIMS ARE DEMONSTRABLY NOT
                          RIPE FORADJUDICATION.....................................................................15




        POINT 11 THE COURT LACKS JUmSDICTION OVER PLAINTIFFS'
                          SPECIFIC PRAYERS FOR RELIEF..........................................................18




       POINT III PLAINTIFF-PATRICIA PEREZ LACKS STANDING TO
                          PURSUE CERTAIN CLAIMS ON HER OWN BEHALF.........................20


       POD4T IV ALL CLAIMS AGAINST FORMER NPCSD HIGH SCHOOL
                          PRINCIPAL MARK) FERNANDEZ MUST BE DISMISSED .................21


       POINT V PLAINTIFFS HAVE FAILED TO ESTABLISH SECTION 1983
                          MOA^ZI LIABILITY AGAINST THE NPCSD........................................23



                          A. The allegations in the Complaint explicitly confirm
                                  that Plaintiffs have sued the wrong parties in this action ...................26


       POINT VI PLAINTIFFS' SIXTY-EIGHT (68) CAUSES OF ACTION
                          AGAINST THE NPCSD ARE MERITLESS AND FAIL TO
                          STATE A CLAIM PURSUANT TO FRCP RULE 12(b)(6) ......................28


                          A. Plaintiffs' substantive due process claims fail as a matter of law ......29
                          B. Plaintiffs' right to education claims fail as a matter of law................ 33
                          C. Plaintiffs' free exercise of religion clams fail as a matter of law .......35
                          D. Plaintiffs' parental choice, informed consent, and bodily
                                  integrity claims all fail as amatter of law...........................................37



CONCLUSION..........................................................................................................................40
      Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 3 of 49




                                                TABLE OF AUTHORITIES

                                                                                                                                 Page(s)
Cases:


Abbott Labs. V. Gardner,
387 U.S. 136 (1967).................................................................................................................15,16




Al-Jimdi v. Estate of Nelson Rockefeller,
885 F.2d 1060 (2d Cir. 1989) ..................................................................................................21, 22




Amedwi v. Vill. ofFrankfort,
2014 U.S. Dist. LEXIS 202569 (N.D.N.Y. 2014)..............................,..........................................24




Ashcroft v. Iqbal,
556U.S.662(2009).......................................................................................................................15




ATSI Commc 'ns, Inc. v. Shaar Fund, Ltd.,
493 F.3d 87 (2d Cir. 2007) ............................................................................................................15




Aurecchione v. Schoolman Transp. Sys., Inc.,
426 F.3d 635 (2d Cir. 2005) ..........................................................................................................14




Barmore v. Aidala,
419 F. Supp. 2d 193 (N.D.N.Y. 2005).......................................................................................l, 23




Bell Ati. Corp. v. Twombty,
550U.S.544(2007)..............................................................,.................,......................................15




Boddie v. Morgenthau,
342 F. Supp. 2d 193 (S.D.N.Y. 2004) .....................................................................................21, 22




Bookerv. Board of Education, Baldwinsville Central School District, etal.,
238F.Supp.2d 469 (N.D.N.Y.2002).............................................................................................23




Canale v. Colgate-Palmolive Co.,
258 F. Supp. 3d 312 (S.D.N.Y. 2012) ...........................................................................................20




Caviezel v. Great Neck Pub, Sch.,
500 F.App'x 16 (2dCir. 2012).....................................................................................................30




County of Sacramento v. Lewis,
523 U.S. 833 (1998).......................................................................................................................31




                                                                     11
      Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 4 of 49



 Doe v. Zucker,
2021 U.S. Dist. LEXIS 28937 (N.D.N.Y. 2021)........... 4, 20, 25, 28,30,31,32, 33, 34, 37-38, 39


Dougherfy v. Town of N HempsteadBd of Zoning Appeals,
282 F.3d 83 (2dCir. 2002)............................................................................................................ 17




Dow Jones & Co. v. Harrods, Ltd.,
237 F. Supp. 2d 394, 406 (S.D.N.Y. 2002) ...................................................................................19




EEOCv.PortAuth.,
78 F.3d 247 (2dCir. 2014)............................................................................................................15




F.F.v.N.Y.,

194A.D.3d80(3dDep't2021)............................................,....................................................4,37




F.F. v State of New York,
66 Misc. 3d 467 (Sup. Ct. 2019)....................................................................................................37




Frank v. Relin,
1 F.3d 1317 (2d Cir. 1993) ........................................................................................................1, 22




Graham-Johnson v. City of Albany,
2021 U.S. Dist. LEXIS 79269 (N.D.N.Y. 2021)...........................................................................14




Hafer v. Melo,
112 8. Ct. 358 (1991)..........................................,......................................................................1, 22




Hulett v. City of Syracuse,
253 F. Supp. 3d 462 (N.D.N.Y. 2017).....................................,.....................................................22




Immediato v. Rye Neck Sch. Dist.,
73 F.3d 454 (2d Cir. 1996) ......................................................................................................29, 37




In re Edgewell Personal Care Co. Litig.,
2018 U.S. Dist. LEXIS 209023 (E.D.N.Y. 2018) .........................................................................20




Jacobson v. Massachusetts,
197 U.S. 11 (1905).......................................................................,..................... 4, 25,28-29, 38, 39




Jettv. Dallas Indep. Sch Dist.,
491U.S.701(1989).............................................................,.........................................................23




L.A. County v. Humphries,
562U.S.29(2010).........................................................................................................................24




                                                                   Ill
      Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 5 of 49




Laurel Hill Cemetery v. San Francisco,
216U.S.358(1910).......................................................................................................................30




Liberman v. Van de Can,
 199U.S.552(1905).......................................................................................................................30




Loren v. Levy,
2003 U.S. Dist. LEXIS 4903 (S.D.N.Y. 2003)..............................................................................21




Lujan v. Defenders of Wildlife,
504U.S.555(1992).......................................................................................................................21




Makarova v. United States,
201 F.3d 110 (2d Cir. 2000) ...................,................................,....................,................................14




Marshall v. Switzer,
900 F. Supp. 604, 615 (N.D.N.Y. 1995)........................................................................................21




Mason v. General Brown Cent. School Dist.,
851 F.2d 47 (2d Cir. 1988)...................................................................................................... 35-36




Mayor v. City Council of Bait. V. Citigroup, Inc.,
79 F.3d 129 (2d Cir. 2013) ............................................................................................................15




McCarthy v. OzarkSch Dist.,
359 F.3d 1029 (8th Cir. 2004)........................................................................................17,18,19




McCluskey v. Imhof,
2018 U.S. Dist. LEXIS 161998 (E.D.N.Y. 2018) ...................................................................18, 24



Molinari v. Bloomberg,
564 F.3d 587 (2d Cir. 2009) ..........................................................................................................29




Monell v. Dep 't ofSoc. Serv. of New York,
436U.S.658(1978).......................................................................................................................23




Morales v. City of New York,
752 F.3d 234 (2d Cir. 2014).........................................................................................................24




Murphy v. Ne-w Milford Zoning Comm 'n,
402 F.3d 342 (2d Cir. 2005) ....................................................................................................17, 18




TV. American Airlines, Inc. v. Int'lBhd. Of Teamsters Local 747,



                                                                   IV
      Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 6 of 49



2005 U.S. Dist. LEXIS 4385 (S.D.N.Y. 2005)..............................................................................19




Natale v. Town ofRidgefleld,
170 F.3d 258 (2dCir. 1999) ..........................................................................................................31




Nat'I Org. for Marriage, Inc. v. Walsh,
714 F.3d 682 (2dCir. 2013).......................................................................................................... 15




New York Immigration Coalition v. Rensselaer Cty, Bd, of Elections,
2019 U.S. Dist. LEXIS 204717 (N.D.N.Y. 2019).............................................................14, 16, 21



New York State Asso. for Retarded Children, Inc. v. Rockefeller,
357 F. Supp. 752 (E.D.N.Y. 1973) ................................................................................................34




Nutritional Health Alliance v. Shalala,
144 F.3d 220 (2d. Cir. 1998).........................................................................................................15




Patter son v. County of One ida,
375 F.3d 206 (2d Cir. 2004) ..........................................................................................................23




Phillips v. City of New York,
775 F.3d 538 (2d Cir. 2015)................................................ 4, 25, 26, 28-29,30,33,34,36, 37, 38




Plyler v. Doe,
457U.S.202(1982).................................................................................................................28,33




Prince v. Massachusetts,
321 U.S. 158 (1944).............................................................................................................4, 37, 39




Reno v. Flores,
507U.S.292(1993).......................................................................................................................29




Rivendell Winery, LLC v. Town of New Paltz,
725 F. Supp. 311 (N.D.N.Y. 2010)................................................................................................17




Rubeor v. Town ofWright,
191F.Supp.3d 198 (N.D.N.Y.2016).........,.........................,.........................................................22




Ryan Klaassen, et al. Applicants v. Trustees of Indiana University,
Diet. No. 21-2326, Appl. No. 21A15 (Aug. 12, 2021)..................................................,............5, 31



Saleh v. Holder,
84 P. Supp. 3d 135 (E.D.N.Y. 2014).............................................................................................14
     Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 7 of 49




San Antonio Indep. Sch. Dist. v. Rodrignez,
411 U.S. 1(1973).......................................,...................................................................................34




Scalpi v. Town of E, Fishkill,
2016 U.S. Dist. LEXIS 24530 (S.D.N.Y. 2016)......................................................................23, 24



Schallop v. New York State Dep't of Law,
20 F. Supp. 2d 384 (N.D.N.Y. 1998).............................................................................................22




Segal v. City of New York,
459 F.3d 207 (2d Cir. 2006) ..........................................................................................................24




Sensational Smiles, LLC v. Mullen,
793 F.3d 281 (2dCir. 2015)..........................................................................................................32




Strubel v. Comemty Bank,
842 F.3d 181 (2d Cir. 2016) ..........................................................................................................21




Surplus Store andExch., Inc. v. City of Delphi,
928 F.2d 788 (7th Cir. 1991) .........................................................................................................24




Textron Lycoming Reciprocating Engine Div. v. United Auto,
523U.S.653(1998).......................................................................................................................19




Thomas v. City of New York,
143 F.3d 31 (2d Cir. 1998) ...............................................................................................14,16,17




Thomas v. Union Carbide Agric. Prods. Co.,
473 U.S. 568 (1985)....................................................................................................................... 17




Town & Country Adult Living, Inc. v. Village/Town of Aft. Kisco,
2019 U.S. Dist. LEXIS 50676 (S.D.N.Y. 2019)............................................................................17




Vaher v. Town ofOrangetown,
133 F. Supp. 3d 574 (S.D.N.Y. 2015) ...........................................................................................24




V.D. v. New York,
403 F. Supp. 3d 76 (E.D.N.Y. 2019) ...................................................................4, 6,13, 26, 33,36



Vives v. City of New York,
524 F.3d 346 (2d Cir. 2008) ..........................................................................................................24




Watkins-El v. Dep 't ofEduc, ,
2016 U.S. Dist. LEXIS 139860 (E.D.N.Y. 2016) ...................................................................36, 37




                                                                    VI
      Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 8 of 49




 W.D.v.RocUandCty.,
2021 U.S. Dist. LEXIS (S.D.N.Y. 2021)........................................................................................ 4




Whitesel v. Sengenberger,
222 F.3d 861 (10th Cir. 2000) ....................,............................,.....................................................24




Whitlow v. California,
203 F. Supp. 3d 1079 (S.D. Ca. 2016)...........................................................................................36




Workman v. Mingo Cty. Bd. ofEduc.,
419 F. App'x 348 (4th Cir. 2011)..................................................................................................36




Zachary v. Clinton Cty.,
2003 U.S. Dist. LEXIS 26596 (N.D.N.Y. 2003)...........................................................................22




Zuchtv. King,
260 U.S. 174 (1922).......................................................................................................4,25, 28, 30




Federal Authorities:


Article III of the U.S. Constitution................................................................................................17




Childhood Vaccine Injury Act....................................................................................................... 19




Declaratory Judgment Act............................................................................................................. 19




42 U.S.C. § 1983..................................................................................................1, 3, 18, 23, 24,26




FRCP Rule 12(b)...........................................................................................................................27




FRCP Rule 12(b)(l).......................................................................................................l, 14,15, 40




FRCP Rule 12(b)(6).......................................................................................................l, 14, 15, 40




New York State Authorities:


C.P.L.R. Article 78 ......................................................................................................................... 2




N.Y. Pub. Health L.§12-B(2).......................................................................................................13




N.Y. Pub. Health L. § 2164 .......................................................................2, 4, 6, 10, 23, 29,32,36




N.Y. Pub. Health L.§2164(7).......................................................................................................13




                                                                     Vll
      Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 9 of 49




N.Y. Pub. Health L.§2164(7)(a)............................................................................................13,26




N.Y. Pub. Health L. § 2164(8).................................,.................................................................9, 32




N.Y. Pub. Health L.§2164(8)(a)..................................................................................................13




N.Y. Pub. HealthL. § 2805-d(l) ...................................................................................................40




N.Y. Edu. L. § 101.......................................................................................................................... 9




N.Y. Edu. L. § 305.......................................................................................................................... 9




10NYCRR § 66-1.1............................................................................................. 2, 23, 29-30, 32




10 NYCRR § 66-1.1(1) ........................................................................................................9, 10, 32




10NYCRR          66-1.3..........................................................................................................................   9




N.Y. Assy. Bill No. 2371, Legis. S. 247 (May 22, 2019).,............................................................35



Other Authorities:

General Best Practice Guidelines for Immunization: Best Practices Guidance of the Advisory
Committee on Immunization Practices (ACIP), THE CENTERS FOR DISEASE CONTROL AND
PREVENTION https://www.cdc.gov/vaccines/hcp/acip-recs/eeneral-recs/downloads/general-
rccs^df (last visited August 15, 2021).............................................................................. 10, 11,12




Statement on Legislation Removing Non-Medical Exemptions from School Vaccination
Requirements, NEW YORK STATE DEPARTMENT OF HEALTH, (June 14, 2019)
https ://www.health.ny. gov/publications/2170/docs/new legislation i oint statement.pdf........... 12


Medical Exemption Review Procedures for Schools Outside New York City and for Non-public
Schools in New York City, New York State Department of Health (October 2020),
https://www.health.nv.eov/Drofessionals/doctors/conduct/docs/medical exemption review proc
edures_for schools.pdf .................................................................................12,13




Dear Superintendent/Principal/School Nurse Regarding Public Health Law 2164(7) (a), NEW
YORK STATE DEPARTMENT OF HEALTH, (last revised August 2019),
https ://www.health.nv. gov/prevention/immunization/schools/Dublic health law section 2164 1
etter.htm         ......................................................................................................                      13




                                                                      Vlll
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 10 of 49




                              PRELIMINARY STATEMENT
                         AND RELEVANT FACTUAL BACKGROUND

        Defendant, the New Paltz Central School District (hereinafter referred to as the

"NPCSD"), by and through its counsel, Johnson & Laws, LLC, submits this Memorandum of Law


in support of the NPCSD's Motion to Dismiss, pursuant to Federal Rules of Civil Procedure Rules

12(b)(l) and 12(b)(6), seeldng dismissal of Plaintiffs' June 15,2021 Complaint (ECF No. 1) in its

entirety. Plaintiff, Patricia S. Perez (hereinafter "Plaintiff or "Perez") commenced the instant


action against the NPCSD and its former principal by filing a Complaint (ECF No. 1) purportedly

on her own behalf and on behalf of her sixteen-year-old child "I.R." (hereinafter collectively


referred to as "Plaintiffs").


        A. Plaintiffs' June 15, 2021 Complaint: The Complaint filed by Plaintiffs in this action

is remarkable not only because in includes more than four-hundred and eighty-two (482)


paragraphs and consumes one-hundred and sixteen (116) pages, but it is equally remarkable for


what it does not include. For example, out of the more than 482 paragraphs, only thirteen (13)

paragraphs (or 2.7%) include factual allegations concerning Plaintiffs or the NPCSD (see ECF No.

1 THi 16, 33-42, 127-128). With respect to the allegations regarding the Defendant-NPCSD,

Plaintiffs' Complaint astonishingly fails to advance any factual contentions against either the

NPCSD or its former principal apart from identifying these NPCSD parties (id. at 1, 11 ^ 26).

Moreover, Plaintiffs' verbose Complaint fails to include any factual allegations that, inter alia: 1)

identify any policy, custom, or practice of the NPCSD, as distinguished from the New York State




1 The NPCSD is also sued herein as "Dr. Mario Femandez, in his official capacity as the Principal
of the New Paltz High School." (ECF No. 1 at 1). As further analyzed below (see infra POINT
IV), Courts in this Circuit have consistently recognized that § 1983 claims against individual
defendants sued in their "official capacities" are equivalent and redundant to the claims alleged
against the municipal entity. Frank v. Relin, 1 F.3d 1317, 1326 (2d Cir. 1993) (quoting Hafer v.
Melo, 112 8. Ct. 358, 361 [1991]); Barmore v. Aidala, 419 F. Supp. 2d 193, 202 (N.D.N.Y. 2005).

                                                  1
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 11 of 49




statutes or regulations that allegedly violated Plaintiffs' purported rights; 2) describe how any

policy, custom, or practice of the NPCSD, as distinguished from the New York State statutes or

regulations, was causally related to any alleged constitutional injury sustained by Plaintiffs; 3)

identify any specific "state action" by the NPCSD or its former principal (let alone any "egregious"

or "outrageous" state action) that purportedly deprived Plaintiffs of any constitutional right; 4)

describe Plaintiffs' attempt to apply for a medical exemption from the NPCSD pursuant to NYS

PHL § 2164 and 10 NYCRR 66-1.1, NPCSD's denial of any medical exemption request, Plaintiffs'

appeal of any determination by the NPCSD to the New York State Commissioner of Education,

or Plaintiffs' challenge of such determination by initiating a CPLR Article 78 proceeding; 5) allege

that NPCSD was responsible, as distinguished from various Federal and New York State agencies,

for I.R.'s inability to lawfully attend school; 6) identify or describe any sincerely-held religious

belief that requires Plaintiffs to selectively choose which vaccinations I.R. should be administered;

7) describe how Plaintiffs lack informed consent regarding the challenged vaccinations; or 8)

identify a fundamental right of Plaintiffs that has allegedly been violated by the challenged NYS

statutes or regulations.


        What Plaintiffs' prolix Complaint does include are hundreds and hundreds of superfluous

and immaterial paragraphs containing; 1) theoretical and opinionated scientific contentions (ECF

No. 1 ^ 4-13, 15, 43-124, 129); 2) redundant and repetitive claims and allegations alleging that

I.R.'s right to "bodily integrity" was somehow violated (id. at ^ 130-38,174-85, 212-21, 256-67,


302-10, 345-62, 393-95, 410-14, 432-37, 462-71); 3) redundant and repetitive claims and

allegations positing that Plaintiffs' rights to "informed consent" were somehow violated {id. at ^

139-44, 186-89, 222-27, 268-73, 311-16, 363-66, 396-98, 415-19, 438-41, 472-74); 4) redundant


and repetitive claims and allegations claiming that Ms. Perez's right to "parental choice" was
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 12 of 49




somehow violated, even when she elected not to have I.R. fully-vaccinated and chose instead to


provide homeschooling instmction (id. at ^ 145-49, 190-94, 228-32, 274-78, 317-21, 367-70,


399-401, 420-24, 442-45, 475-77); 5) redundant and repetitive claims and allegations claiming

that Plaintiffs' substantive due process rights were somehow violated, even when Plaintiffs have


failed to plead any unlawful "actions" allegedly taken by the NPCSD (id. at ^ 279-89, 322-32,

371-74, 388-92, 404-09, 446-51, 478-82); 6) redundant and repetitive claims and allegations

claiming that Plaintiffs' rights to freely exercise their religion were somehow violated, even when


Plaintiffs conceded to previously misusing New York State's prior religious exemption as a so-


called "release valve" for circumventing New York State's school vaccination laws (id at ^ 161-


66, 200-04, 244-48, 290-94, 333-37, 371-80, 425-29, 452-61); and 7) redundant and repetitive

claims and allegations that I.R.'s right to pursue a free public education was somehow violated,


even in light of Ms. Perez's election to not have I.R. fully-vaccinated (id. at ^ 167-71, 205-09,


249-53, 295-99, 338-42, 381-85).


       Remarkably, as further discussed below, the allegations in the Complaint explicitly

acknowledge (at length) that numerous Federal and New York State agencies are the entities

responsible for the claims that Plaintiffs alleged above—not the NPCSD (id. at ^ 15, 17-18, 57,

60, 63 n.l, 64, 67, 69-76, 80, 84, 86-89, 93, 100-101, 105-108, 113 115, 116-119, 122,129,359,


389-390,392,407,427,436, 465, 467,470). As such, Plaintiffs' Complaint constitutes nothing

more than a demand against NPCSD to permit I.R. to attend school in violation of applicable New


York State Laws—which demand does not (and cannot) support a plausible § 1983 claim.

       B. Plaintiffs' Legal Challenges to New York State Law: While Plaintiffs' Complaint

ostensibly attempts to present an "as applied challenge" against the NPCSD, the actual allegations

contained in the Complaint make clear that the gravamen of Plaintiffs' claims constitute a facial
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 13 of 49




challenge to the constitutionality of New York State's vaccination laws and regulations. Such


challenges to New York State's current vaccination laws (irrespective of whether such challenges


are facial or "as applied"), even in the wake of New York's 2019 abolition of the religious

exemption, are not new. See e.g,, Jacobson v, Massachusetts, 197 U.S. 11, 37 (1905) (setting the


applicable precedent that challenges to states' immunization laws trigger only a rational basis


review); Zucht v. King, 260 U.S. 174, 176 (1922) (affirming the holding in Jacobson and

underscoring that vaccination laws are within states' police power); Prince v. Massachusetts, 321


U.S. 158,166-67 (1944) (holding same with respect to the decision in Jacobson); Phillips v. City

of New York, 775 F.3d 538, 542-43 (2d Cir. 2015) (upholding Jacobson and the rational basis

review standard in the Second Circuit); F.F. v.N.Y,, 195 A.D.3d 80 (3d Dep't 2021) (rejecting a

challenge to the constitutionality of New York's Public Health Law § 2164 following the New

York's repeal of the religious exemption); W.D. v. Rockland Cty., 2021 U.S. Dist. LEXIS, *29, 58


(S.D.N.Y. 2021) (holding that parents did not have a property right to send their unvaccinated

children to public school and that rational basis review was proper in light of New York State's

facially-neutral Public Health Laws and regulations); Doe v. Zucker, 2021 U.S. Dist. LEXIS


28937, *83,107,110-11 (N.D.N.Y. 2021) (J. Sannes) (granting defendants' Rule 12(b)(6) motion

to dismiss and rejecting plaintiffs' substantive due process, equal protection, informed consent,


parental choice, right to an education, "unconstitutional conditions," and disability-based


discrimination challenges to New York State's amended vaccination laws and regulations); V.D.


v. New York, 403 F. Supp. 3d 76, 80, 83-84 (E.D.N.Y. 2019) (rejecting plaintiff-parents' IDEA

challenge to New York State's Public Health Law § 2164),

       Only a few days ago, the United States Supreme Court struck down students' challenges


to Indiana State's mandate that all students be vaccinated against the coronavirus prior to being
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 14 of 49




permitted to enroll in Indiana University. Ryan Klaassen, et al., Applicants v. Trustees of Indiana


University, Dkt. No. 21-2326, Appl. No. 21A15 (Aug. 12, 2021) (Justice Barrett). The holding in

Klaassen is significant since the case came up from the Seventh Circuit where the standard in


Jacobson was, again, relied upon in the court's finding that the state's immunization laws were a


constitutional exercise of state police power. Klaassen v. Trs, oflnd. Univ., 2021 U.S.App. LEXIS


22785, *4-5 (7th Cir. 2021). The Klaassen court reiterated that "[e]ach university may decide

what is necessary to keep other students safe in a congregate setting," and specifically indicated


that it is well within the states' authority to enact and enforce laws requiring vaccination from


"measles, mumps, rubella, diphtheria, tetanus, pertussis, varicella, meningitis, influenza, and


more." Id. at *3. The court mKlaassen rejected the plaintiff-students' substantive due process,


bodily integrity, and right to education claims, reiterating that Jacobson 's rational basis standard

was satisfied and, if certain students do not wish to be vaccinated, they "may go elsewhere." Id.


       Plaintiffs' Complaint in the instant matter fares no better than the numerous other


unsuccessful challenges to state officials' authority to draft, enact, delegate, and enforce school


vaccination requirements. In fact, the allegations (or lack thereof) in Plaintiffs' Complaint pale in

comparison to the more "robust" immunizations challenges that were, nonetheless, consistently,


and repeatedly rejected by the courts. Accordingly, for all of the foregoing and following reasons,


Plaintiffs' Complaint before this Court must be dismissed, in all respects, as a matter of law.


       C. Relevant Factual Background: As reflected by Plaintiffs' prolix Complaint, Perez

alleges that I.R. is a student residing in the geographic area served by the NPCSD (ECF No. 1 at ^

26). According to the Complaint, Perez has certain "concerns" regarding administering the final


"booster" of the DTaP vaccine (an FDA-approved formulated vaccination that protects against the


infections/diseases of diphtheria, tetanus, and pertussis), and the final "booster" of the FDA-
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 15 of 49



approved polio vaccine to I.R. (id. at ^ 1, 16). With the exception of these two vaccines, I.R.,


who is now sixteen (16) years old, has received every other immunization required by New York


State's school vaccination laws (id. at ^ 1). Perez's alleged refusal to administer these final two


vaccines to I.R. purportedly stems from Perez's "concerns" that I.R. has experienced "allergy


symptoms" and "other nervous system disorder" since she was a pre-vaccinated infant (id. at ^<|


16,29). Yet, Plaintiffs never submitted a request to the NPCSD for a medical exemption.

       Plaintiffs admit to misusing the former religious exemption previously dictated in § 2164

of the New York State Public Health Law ("PHL"), until such exemption was repealed by the New

York State Legislature on June 13, 2019 due to recent outbreaks of certain highly-contagious,


potentially fatal diseases in which New York State was found to be a "driving force" to same. See


N.Y. Assy. Bill No. 2371, Legis. S. 247 (May 22, 2019); V.D., 403 F. Supp. at *80-81; (ECFNo.


1 at ^ 18-19, 118, 125, 128). Plaintiffs categorize their apparently improper use ofNYS PHL's

former religious exemption as being the so-called "release valve" for the alleged "gap in scientific


knowledge" Plaintiffs' theorize exists with respect to the challenged vaccines (ECF No. 1 at ^ 18,

128-129). The Complaint further alleges that Perez has elected to homeschool I.R. (as she has


done in the past for unrelated reasons) since Plaintiffs are no longer able to (mis)use NYS PHL's

former religious exemption (id. at ^ 34-35). As indicated above, the Complaint is devoid of any

allegations that Plaintiffs ever completed or submitted a medical exemption request to the NPCSD,

or that NPCSD ever reviewed or denied same.


       Interestingly, Plaintiffs' Complaint is comprised of many allegations that directly belie and

undermine the claims asserted against the NPCSD. As noted above, some of the most remarkable


aspects of the Complaint include Plaintiffs' explicit acknowledgment that various Federal and New

York State agencies, as well as private pharmaceutical manufacturers, are responsible for
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 16 of 49




Plaintiffs' alleged injuries in not being able to lawfully attend school—not the NPCSD (see e.g.,

id. at ^ 15, 17-18, 57, 60, 63 n.l, 116-117). While the pleadings admit that Plaintiffs have

provided New York State with contemporaneous "notice" of their Complaint, Plaintiffs

perplexingly have not named New York State (or any Federal, State, or pharmaceutical entities)

as Defendants in this litigation (id. at ^ 27). Also prominent in Plaintiffs' Complaint are the

allegations which emphasize the pure speculation underlying Plaintiffs' scientific and medical

theories, as well as Plaintiffs' unusual and provocative assumptions that this Court will not act as


an impartial decisionmaker when analyzing and applying the applicable law—going so far as to

surmise that this Court will "dehumanize" Plaintiffs (id. at ^ 22-23,84,92,100,102, 127,434,

468, 470). These curious allegations in Plaintiffs' Complaint include, inter alia, the following:

        • "The NY8DOH [not the NPCSD] nonetheless demands that plaintiffs and all other

New Yorkers believe their vaccine claims and submit to such vaccines or else be expelled from


school." (ECFNo.latpl6);

        • "New York legislators [not the NPCSD] have removed the concept of informed

consent for any parent that wants their child to attend school in this state without injecting the

vaccines at issue in this complaint." (id. at ^ 15);

        • "New York State and the NYSDOH rely on the United States Department of Health

& Human Services ("HHS") and the Centers for Disease Control & Prevention ("CDC") [not the

NPCSD] to claim that vaccines are safe. This is because the 1986 Act made HHS, and its agencies,

including the CDC, solely responsible for vaccine safety." (id. at ^ 60);

        • Plaintiffs' opinion that " [d] espite the 198 6 Act making HHS responsible for vaccine

safety, it has failed to fulfill this duty, with regard to these vaccines." (id. at ^ 87);
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 17 of 49




        • Plaintiffs' opinion that the federal "vaccine court" "greatly limits HHS's incentive


to publish safety studies that may support that DTaP/Tdap or IPV causes a given harm." (id. at ^

76);

        • Plaintiffs' opinion that the "HHS and CDC have failed to conduct studies to identify

children susceptible to vaccine harms." (id. at ^ 101);

        • Plaintiffs' opinion that "[tjhe CDC publicly hides behind the claim that no

causation has been proven" with respect to certain vaccinations, (id. at ^ 93);


        • Plaintiffs' opinion that "the pharmaceutical industry remains accountable for safety


and liable in civil court for injuries caused by the dmgs they put on the market." (id. at ^ 84);

        • Plaintiffs' opinion that "the research has not yet been done to know which children

are susceptible" to alleged vaccine harms." (id. at ^ 239);


        • Perez' s admissions that her "concerns" regarding the challenged vaccinations "may


or may not be related to" I.R.'s purported medical conditions. (id. at ^ 127);


        • Acknowledgment that it has not been found that vaccines or vaccine products


actually cause the allegedly most-commonly claimed medical "conditions" (id. at ^ 434);

        • Plaintiffs' opinions that various social media platforms and corporations, such as


Facebook, Amazon, and elected New York State officials (not the NPCSD), allegedly censor

stories about vaccine harms (id. at ^ 20-22); and

       • Plaintiffs' presumptuous allegations that this Court should set aside "all

preconceived notions regarding [vaccine] products. That the dehumanization of Plaintiff and her

child be set aside." (id. at ^21). Additionally, that this Court should not afford "special ta'eatment"

to the Federal and State agencies—not the NPCSD—that are mentioned (but not sued as


Defendants) throughout Plaintiffs' Complaint, (id. at ^ 23-24).



                                                  8
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 18 of 49




        As the foregoing allegations reveal, despite the incredibly prolix nature of Plaintiffs'

Complaint, the factual allegations asserted therein are comprised of only: 1) irrelevant and

immaterial facts which explicitly do not involve actions of the NPCSD; 2) inflammatory

accusations against this Court and several non-parties; and 3) purely speculative (and biased)

medical and scientific hypotheses. Accordingly, Plaintiffs' Complaint cannot survive NPCSD's

instant motion to dismiss.


       D. New York State's Vaccination Laws: As indicated above, Plaintiffs' Complaint


attempts to present a challenge to the New York State school vaccination program, particularly in


the wake of New York State's June 13, 2019 abolition of the prior religious exemption that many

public-school students, including I.R., previously claimed (ECF No. 1 at ^ 18, 128-129).

Curiously, Plaintiffs have not sued the State (which drafted and enacted the mandatory vaccination

laws) nor the New York State Departments of Health or Education (which promulgated regulations

and maintains the authority to enforce the state vaccination laws). It is undisputed that individual

school districts, like the NPCSD, must abide by these state laws. See N.Y. Edu. Law §§ 101,305.

       Under 10 NYCRR 66-1.3 (the challenged NYS regulations), students must satisfy certain

requirements to obtain a medical exemption to the mandatory school vaccination laws. Students


seeking a medical exemption must submit a medical form signed by a New York State licensed

physician. See 10NYCRR66-1.3. This medical form must: 1) certify that a specific immunization

may be detrimental to the child's health; 2) contain sufficient information to identify a medical

contraindication or precaution to a specific immunization; and (3) specify the length of time the

immunization is medically contraindicated. See id. These NYS requirements are not new. What


is relatively new to NYS's medical exemption process is the definition of what "may be


detrimental to the child's health." See 10 NYCRR 66-1.1(1); PHL§ 2164(8). The relatively new
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 19 of 49




state regulations now require a physician to determine "that a child has a medical contraindication


or precaution to a specific immunization consistent with ACIP guidance or other nationally


recognized evidence-based standards of care." See 10 NYCRR 66-1.1(1). Plaintiffs do not


challenge this specific definition added to NYS's Public Health Laws. Rather, they contend that

limited portions of PHL § 2164 and 10 NYCRR 66-l.l(f) be comprehensively declared

unconstitutional to the extent that these provisions of New York State's Laws require


schoolchildren to receive the DTaP and polio vaccines (see e.g., ECF No. 1 at ^ 138). Moreover,


as further discussed below, Plaintiffs curiously ignore the fact that 10 NYCRR 66-1.1(1) also

provides medical exemptions for "other nationally recognized evidence-based" medical


contraindications or precautions. See id.


        The Centers for Disease Control and Prevention ("CDC"), a federal agency operating under


the U.S. Department of Health and Human Services ("USDHHS"), recommends routine vaccines


to fight against 17 vaccine-preventable diseases.2 The CDC specifically recommends vaccines for


younger people because they are more at risk of developing certain vaccine-preventable diseases.


Id. at 11. The Advisory Committee on Immunization Practices General Recommendations Work


Group ("ACIP") releases updated "best practice guidelines" every three to five years. Id. at 5.


This group is comprised of a diverse group of health care professionals, experts, and public health

officials. Id. The NYS Legislature reasonably collaborated and deferred to this group of experts

in amending the regulations for NYS's mandatory school vaccinations. See 10 NYCRR 66-1.1(1).




 See General Best Practice Guidelines for Immunization: Best Practices Guidance of the Advisory
Committee on Immunization Practices (ACIP), THE CENTERS FOR DISEASE CONTROL AND
PREVENTION, at *2, https://www.cdc.Rov/vaccines/hcp/acip-recs/general-recs/downloads/eeneral-
recs.pdf (last visited August 15, 2021).

                                                10
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 20 of 49




        The ACIP set forth a recommended vaccination schedule that vaccination providers should

observe. Id. at 12,28-32. The ACIP also indicated that "persons who administer vaccines should


screen patients for contraindications and precautions to the vaccine before each dose of vaccine is


administered." Id. at 49. Contrary to Plaintiffs' contentions, the ACIP defines "contraindications"


as "conditions in a recipient that increases the risk for a serious adverse reaction." Id. at 49.


Although the ACIP does not recommend vaccination when a contraindication is present, it makes


clear that "[bjecause the majority of contraindications are temporary, vaccinations often can be


administered later when the condition leading to a contraindication no longer exists." Id. The


ACIP also cautions that "certain conditions are commonly misperceived as contraindications (i.e.,


are not valid reasons to defer vaccination)." Id.


       The ACIP defines a "precaution" as "a condition in a recipient that might increase the risk


for a serious adverse reaction, might cause diagnostic confusion, or might compromise the ability


of the vaccine to produce immunity." Id. at 50. Further belying Plaintiffs' allegations, an "adverse


reaction" is defined as an "undesirable medical condition that has been demonstrated to be caused


by a vaccine." Id. at 191. The ACIP recommends that once the acute illness has improved, a


person should be vaccinated, assuming they have already been screened for contraindications. Id.


When it comes to children, the ACIP cautions that, "[s]tudies indicate that failure to vaccinate

children with minor illnesses can impede vaccination efforts." Id. at 51.


       The ACIP also points out that physicians and other health care providers "might

misperceive certain conditions or circumstances as valid contraindications or precautions to


vaccination when they actually do not preclude vaccination" and that "[t]hese misperceptions


result in missed opportunities to administer recommended vaccines." Id. at 52. The ACIP includes


tables ofcontraindications and precautions to commonly used vaccines {see id. at 53-59), as well




                                                    11
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 21 of 49




as conditions that are often incorrectly perceived as contraindications or precautions to


vaccinations (see id. at 60-61),


        The New York State Department of Health's ("DOH") regulatory guidance incorporates

the CDC's schedules and guidelines for medical exemptions.3 The DOH issued a set of procedures


for local school districts (such as the NPCSD) to utilize when reviewing requests for medical

exemptions. As further explained herein, Plaintiffs' allegations (or lack thereof) are particularly

remarkable since the Complaint even fails to allege that the NPCSD was ever provided the

opportunity to review or make a determination on any medical exemption request from Plaintiffs.


In any event, had the NPCSD reviewed and determined Plaintiffs' medical exemption request, the

NPCSD would have merely been abiding by New York State's mandated regulatory procedures.

       The DOH explained that the first step in NYS's exemption process is the parent/guardian's


submission of a medical exemption statement from the student's physician, which physician must


be licensed to practice medicine in the State of New York. Id. Second, the principal or other


school designee reviews the parent/guardian's submissions for compliance with the New York


Public Health Laws. The school may request additional documentation from the parent/guardian.


Id. "In making a determination on a medical exemption request, the school should seek the


appropriate medical consultation (e.g., the school's medical director(s) and/or physicians)." Id. at


1. If needed, the school may forward the request to the DOH's Bureau of Immunization for its


recommendations. Id.




3 See e.g., Statement on Legislation Removing Non-Medical Exemptions from School Vaccination
Requirements, NEW YORK STATE DEPARTMENT OF HEALTH, (June 14, 2019)
https://www.health.ny.gov/publications/2170/docs/new legislation ioint statement.pdf.
 See Medical Exemption Review Procedures for Schools Outside New York City and for Non-
public Schools in New York City, NEW YORK STATE DEPARTMENT OF HEALTH (October 2020),
https://www.health.ny,gov/professionals/doctors/conduct/docs/medical_exemption review_proc
edures for schools.pdf.

                                                12
    Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 22 of 49



        Under NYS's new regulations (which Plaintiffs do not challenge), if a school determines

that a student is not exempt from a mandatory vaccine, and that student still refuses to obtain that


mandatory vaccine, the school has no choice but to exclude the unvaccinated student from school,


as is required by applicable laws. See N.Y. Pub. Health Law § 2164(7), 8(a). While a school

district may extend the fourteen (14) day grace period and allow a student up to thirty (30) days to

comply with NYS's mandatory vaccination requirements, school districts have no authority to


extend the deadline beyond 30 days. See N.Y. Pub, Health Law § 2164(7) ("the fourteen-day

period may be extended to not more than thirty days for an individual student.").

        If a local school district, such as the NPCSD, allowed an unvaccinated child, such as I.R.,


to attend school, such district would be in violation ofNYS's Public Health Law § 2164(7). In

fact, the DOH's website cautions that "[e]ach student who is permitted to attend school in violation

of the requirement of Section 2164(7)(a) constitutes the basis for a separate violation of the Public

Health Law for which a civil penalty may be imposed."5 Moreover, Public Health Law § 12-B(2)

sets the civil penalty for a school district's willful violations of Public Health Laws at $2,000 per

violation. Id. Because unvaccinated and nonexempt children are not eligible to attend public or


private schools under NYS law, parents must provide homeschooling instruction for those


children, as Perez has done in the instant action. (ECF No. 1 at ^ 34-35); see also V.D. v. State,


403 F.Supp.Sd 76, 89 (E.D.N.Y. 2019) (recognizing that parents objecting to New York State's

mandatory vaccination requirements will thus be required to homeschool their children). While

Plaintiffs request that specific portions ofNYS PHL § 2164 and 10 NYCRR 66-l.l(f) be struck




 See Dear Superintendent/Principal/School Nurse Regarding Public Health Law 2164(7) (a), NEW
YORK STATE DEPARTMENT OF HEALTH, (last revised August 2019),
https://www.health.nv.gov/orevention/immumzatioa/schools/public health law section 2164 1
etter.htm.

                                                 13
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 23 of 49




down, Plaintiffs fail to mention any of the legal consequences that would be imposed on the

NPCSD if it failed to comply with NYS's laws.

                                          ARGUMENT

       Standard of Review: Federal Rules of Civil Procedure ("FRCP") Rule 12(b)(l) provides

that an action shall be dismissed if the reviewing Court lacks subject-matter jurisdiction. "A case

is properly dismissed for lack of subject matter jurisdiction under Rule 12(b)(l) when the district

court lacks the statutory or constitutional power to adjudicate it." Makarova v. United States, 201


F.3d 110,113 (2d Cir. 2000). "The plaintiff bears the burden of proving subject matter jurisdiction

by a preponderance of the evidence." Aurecchione v. Schoolman Transp. Sys., Inc., 426 F.3d 635,


638 (2d Cir. 2005). "Subject matter jurisdiction is a threshold issue and, thus, when a party moves

to dismiss under both Rules 12(b)(l) and 12(b)(6), the motion court must address the 12(b)(l)

motion first." Saleh v. Holder, 84 F. Supp. 3d 135, 138 (E.D.N.Y. 2014) (internal citations


omitted); see also New York Immigration Coalition v. Rensselaer Cty. Bd. of Elections, 2019 U.S.


Dist. LEXIS 204717, *4-5 (N.D.N.Y. 2019) (J. Hurd). "Subject matter jurisdiction is a threshold

issue and, thus, when a party moves to dismiss under both Rules 12(b)(l) and 12(b)(6), the motion

court must address the 12(b)(l) motion first." Saleh, 84 F. Supp. 3d at 138;see also Thomas v.

City of New York, 143 F.3d 31, 34 (2d Cir. 1998). As set forth in NPCSD's motion. Plaintiffs'

Complaint must be dismissed based upon the demonstrable absence of subject-matter jurisdiction.


       Similarly, FRCP Rule 12(b)(6) provides that a claim shall be dismissed if a Complaint fails

"to state a claim upon which relief can be granted." As to NPCSD's instant motion to dismiss


under FRCP Rule 12(b)(6), this Court has recently described the applicable standard in Graham-

Johnson v. City of Albany, 2021 U.S. Dist. LEXIS 79269 (N.D.N.Y. 2021), delineating that:

       To survive a motion to dismiss under Rule 12(b)(6) for failure to state a claim, "a
       complaint must provide 'enough facts to state a claim to relief that is plausible on



                                                14
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 24 of 49




        its face."' Mayor & City Council of Bait. v. Citigroup, Inc., 709 F.3d 129,135 (2d
        Cir. 2013) (quoting Bell Ati. Corp. v. Twombly, 550 U.S. 544, 570 [2007]). The
        plaintiff must provide factual allegations sufficient "to raise a right to relief above
        the speculative level." Id. (quoting Twombly, 550 U.S. 544, 555 [2007]). The court
        must accept as tme all factual allegations in the complaint and draw all reasonable
        inferences in the plaintiffs favor. EEOC v. PortAuth., 768 F.3d 247, 253 (2d Cir.
        2014) (citing ATSI Commc'ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 [2d Cir.
        2007]). However, "the tenet that a court must accept as true all of the allegations
        contained in a complaint is inapplicable to legal conclusions." See e.g., Ashcroftv.
        Iqbal, 556 U.S. 662, 678 (2009).

Id. at *4-5. Finally, the U.S. Supreme Court mAshcroft v. Iqbal dictated that, inter alia, "under


[FRCP] 8(a)(2), a pleading must contain a 'short and plain statement of the claim showing that the

pleader is entitled to relief.'" See e.g., Ashcroft, 556 U.S. at 678 (quoting Twombly, 550 U.S. at


555). Importantly, once the Court wades through Plaintiffs' incredibly prolix Complaint and

considers the (extremely limited) factual allegations that are actually applicable and material to the

federal claims asserted against the NPCSD, dismissal of the Complaint is clearly warranted as a

matter of law. Accordingly, Plaintiffs' Complaint should be dismissed, in all respects, pursuant to


Federal Rules of Civil Procedure Rules 12(b)(l) and/or 12(b)(6).

POINT I: PLAINTIFFS' CLAIMS ARE DEMONSTRABLY NOT RIPE FOR
               ADJUDICATION

        Even prior to analyzing the merits (or lack thereof) of Plaintiffs' claims, the prolix

Complaint must be rejected since the "dispute" Plaintiff attempts to assert against the NPCSD is

obviously not ripe for review. It is well-established that ripeness is a constitutional prerequisite to


exercise the jurisdiction of the federal courts (Nutritional Health Alliance v. Shalala, 144 F.3d

220, 225 [2d Cir. 1998] (citing Abbott Labs. v. Gardner, 387 U.8. 136, 148-49 [1967])), as it

invokes the issue of the federal courts' subject matter jurisdiction. Nat'I Org. for Marriage, Inc.


v. Walsh, 714 F.3d 682, 687 (2d Cir. 2013). "Subject matter jurisdiction is a threshold issue and,

thus, when a party moves to dismiss under both Rules 12(b)( 1) and 12(b)(6), the motion court must




                                                  15
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 25 of 49



address the 12(b)(l) motion first." See Ne-w York Immigration Coalition v. Rensselaer Cty, Bd. of


Elections, 2019 U.S. Dist. LEXIS 204717, *5 (N.D.N.Y. 2019) (J. Kurd) (quoting Saleh v. Holder,

84 F. Supp. 3d 135, 138 [E.D.N.Y. 2014]). Courts can, therefore, determine matters ofripeness


sua sponte and reject claims on the basis of same. Thomas v. City of New York, 143 F.3d 31, 34


(2dCir.l998).

        As discussed herein, Plaintiffs' verbose Complaint remarkably fails to allege that Plaintiffs

ever: 1) completed the requisite medical exemption application; 2) submitted the required medical

exemption application to NPCSD; or 3) that NPCSD ever denied any medical exemption request

submitted by or on behalf of Plaintiffs (ECF No. 1 at ^ 18-19, 24). Rather than engage in any of

the mandatory steps with the NPCSD to procure a medical exemption from the two vaccines


(which prevent against four different infections/diseases) in question, Plaintiffs merely rely upon

their subjective, anticipatory opinions that Congress and the New York State Legislature (not the

NPCSD) have increased the difficulty of obtaining a medical exemption from the mandatory

vaccinations by the State's elimination of the former religious exemption (see e.g., id. at ^ 15, 17-


19, 24). Not only do Plaintiffs attempt to have this Court "weigh-in" by creating a Court-imposed

medical exemption (as opposed to an exemption provided by NPCSD), but Plaintiffs concede that

they are pursuing claims against the NPCSD despite the undisputed fact that NPCSD never denied

any of Plaintiffs' medical exemption requests, nor did NPCSD even have the opportunity to do so.


       The ripeness doctrine has been established to protect the government (e.g., municipalities)


from "judicial interference until a decision has been formalized and its effects felt in a concrete


way by the challenging parties." Thomas, 143 F.3d at 34 (quoting AbbottLabs., 387 U.S. at 148-

49) (internal citations omitted) (emphasis added). Moreover, "an Article III court 'cannot entertain

a claim which is based upon contingent future events that may not occur as anticipated, or indeed




                                                 16
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 26 of 49




may not occur at all.'" Thomas, 143 F.3d at 34 (quoting Thomas v. Union Carbide Agric. Prods.


Co., 473 U.S. 568, 580-81 [1985]). As the District Court for the Southern District recently held:

       The ripeness doctrine ensures that a dispute has generated injury significant enough
       to satisfy the case or controversy requirement of Article III of the U.S. Constitution.
        Dougherty v. Town of N HempsteadBd of Zoning Appeals, 282 F.3d 83, 90 (2d Cir.
       2002). It also prevents courts from entangling themselves in abstract disagreements
       over matters that are premature for review because the injury is merely speculative
       and may never occur, depending on the final administrative resolution. Id. The
       ripeness requirement defers federal review of claims until they have arisen in a
       concrete and final form. Murphy v. New Milford Zoning Comm'n, 402 F.3d 342,
       347 (2d Cir. 2005).

Town & Country Adult Living, Inc. v. Village/Town ofMt. Kisco, 2019 U.S. Dist. LEXIS 50676

*32 (S.D.N.Y. 2019). In fact, the Circuit Court in McCarthy v. OzarkSch. Dist., 359 F.3d 1029


(8th Cir. 2004) specifically declined to exercise jurisdiction over the student-plaintiffs' challenges

to medical exemptions &om the state's compulsory school vaccinations on the basis that such


challenges were not ripe for adjudication because the student-plaintiffs' failed to ever request any


exemptions, nor did the school district ever deny such exemptions. Id, at 1037. The Circuit Court


in McCarthy held that:

       We need not resolve these challenges, however, because any challenges to the
       [vaccination] requirements are not yet ripe. To the extent the Schoolchildren
       challenge the educational component or other aspects of the application process
       under the new [medical] exemption, their claims are speculative and involve no
       concrete injury. No Schoolchildren have applied for nor been denied exemption
       under the new statute.. .. Were we to address the newly enacted exemption statute
       and regulations before first giving the Department of Health the opportunity to
       work with the Schoolchildren, we would inappropriately and prematurely entangle
       the court in an abstract disagreement. [W]e dismiss all pending claims as moot and
       all newly raised challenges as unripe for review. Id, (quoting Abbott Labs., 387
       U.S. at 148-49).


       Akin to McCarthy, the undisputed fact that Plaintiffs never attempted to procure a medical

exemption from NYS's school vaccination requirements is fatal to Plaintiffs' claims against the


NPCSD. See also Rivendell Winery, LLCv. Town of New Paltz, 725 F. Supp. 311, 317-19




                                                 17
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 27 of 49




(N.D.N.Y. 2010) (holding that "mere doubt" as to whether an application will be successful is not

sufficient to preemptively bring claims in federal court based upon lack ofripeness); Ritterband v.

Axelrod, 149 Misc. 2d 135,139(1990) (holding that claims are not ripe for review where plaintiffs

fail to first attempt to utilize the challenged regulations). Of course, if Plaintiffs elected to submit

a medical exemption request to NPCSD, Plaintiffs' exemption request may have been granted, and


the instant federal action before this Court may have never been commenced. Avoidance of


superfluous lawsuits is exactly what the doctrine of ripeness is designed to facilitate and ensure.


See e.g,, Murphy, 402 F.3d at 347. Analogous to McCarthy, this Court should not entertain


Plaintiffs' speculative claims which are contingent upon future events that may have never


occurred had Plaintiffs availed themselves ofNYS's medical exemption procedures. McCarthy,


359F.3datl037.

       As fully-explained below (see infra POINT V), Plaintiffs' failure to submit any medical

exemption request or challenge any medical exemption determination by the NPCSD further

confirms that NPCSD did not engage in any "state action" which could subject them to Monell

liability pursuant to 42 U.S.C. § 1983; as opposed to merely abiding by NYS's vaccination laws

which were undisputedly drafted, enacted, and enforced by the New York State Legislature. See


e.g., McClvskey v. Imhof, 2018 U.S. Dist. LEXIS 161998, *9 (E.D.N.Y. 2018). Accordingly, the


absence of a ripe controversy compels the dismissal of Plaintiffs' Complaint as a matter of law,


POINT II: THE COURT LACKS JURISDICTION OVER PLAINTIFFS' SPECIFIC
               PRAYERS FOR RELIEF
       Plaintiffs' Complaint seeks two forms of equitable relief: positive injunctions and

declaratory relief (ECF No. 1 at 114-116)—neither of which are legally viable. As to the claims

for injunctive relief, as discussed above (see supra POINT I), Plaintiffs' failure to even apply for

a medical exemption from the NPCSD, as well as Plaintiffs' failure to challenge any



                                                  18
    Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 28 of 49



determinations made by the NPCSD regarding I.R.'s medical exemption, renders their claims


unripe for adjudication before this Court. See e.g., McCarthy, 359 F.3d at 1037.


        As to Plaintiffs' claims for declaratory relief regarding the ingredients of certain vaccines

and/or the public policy rationales underlying Congress' passage of the Childhood Vaccine Injury

Act ("CVIA"), the Complaint fails to present a case and controversy in the "constitutional sense"


as between Plaintiffs and the NPCSD which could legally support declaratory relief under the

Declaratory Judgement Act ("DJA") (which is curiously not mentioned anywhere in the prolix

Complaint). See e.g., Textron Lycommg Reciprocating Engine Div. v. United Auto, 523 U.S. 653,


661 (1998); see also N. American Airlines, Inc. v. Int'l Bhd. Of Teamsters Local 747, 2005 U.S.


Dist. LEXIS 4385 *24-25 (S.D.N.Y. 2005) (granting union's Rule 12(b) motion to dismiss

employer's claims for declaratory relief because they failed to present an Article III "controversy"


and the discretion under the DJA would not settle any legal dispute between the parties); Dow

Jones & Co. v. Harrods, Ltd., 237 F. Supp. 2d 394, 406 (S.D.N.Y. 2002) (underscoring that the


"actual controversy" requirement under the DJA is "coextensive with the analysis applicable to


the 'case and controversy' standard embodied in Article III."). Plaintiffs' Complaint should be


dismissed for these additional jurisdictional defects.

       The peculiar types of relief requested by Plaintiffs in this action borders on absurd. For

example. Plaintiffs' requests that this Court declare, inter alia, that: 1) DTap/Tdap products

contain aluminum adjuvants; 2) that pharmaceutical manufacturers possess immunity from


"design defects"; 3) that DTap/Tdap products might cause death or injuries; and 4) that safety

profiles of DTap/Tdap products have not yet been finalized, are clearly not matters that are

properly before this Court in an action filed against the NPCSD. Obviously, the NPCSD is not

responsible for the ingredients of any particular vaccination or Congress' enactment of the C VIA.




                                                 19
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 29 of 49




Moreover, contrary to Plaintiffs' contentions, courts have routinely recognized that medical and


scientific professionals/agencies are most equipped at determining questions invoking medical


and/or scientific concerns. See e.g., In re Edgewell Personal Care Co. Litig., 2018 U.S. Dist.


LEXIS 209023, *18-19 (E.D.N.Y. 2018) (holding PDA was best-suited to determine matter of

science concerning whether sunscreen products could properly be labeled "SPF 50"); Canale v.


Colgate-Palmolive Co., 258 F. Supp. 3d 312, 325 (S.D.N.Y. 2012) (holding that the Federal Trade

Commission was the proper entity in determining whether certain toothpaste products "deeply


whiten and whiten beyond surface stains."). Notably, while Plaintiffs demand the aforementioned

extraordinary relief from this Court, Plaintiffs' Complaint is riddled with allegations directing

belying their own claims (ECF No. 1 at ^ 127 [stating that the four vaccines in question "may or

may not be related to [Plaintiffs] concerns" regarding I.R.'s medical history], 137,156,163,239,

246,292, 390, 428, 434, 435, 440, 444, 448, 465(h)).6 This Court therefore lacks jurisdiction to

grant the extraordinary injunctive and declaratory relief demanded in the Complaint.

POINT III: PLAINTIFF-PATRICIA PEREZ LACKS STANDING TO PURSUE
                CERTAIN CLAIMS ON HER OWN BEHALF
        In addition to the fatal jurisdictional deficiencies described above, Perez's lack of standing

precludes this Court from exercising jurisdiction over certain claims that Perez asserts on her own


behalf. As the Second Circuit recently noted: "because standing is necessary to [the Court's]


jurisdiction, [the Court is] obliged to decide the question [of standing] at the outset." See e.g.,



6 See also Doe v. Zucker, 2021 U.S. Dist. LEXIS 28937, *65-66 (N.D.N.Y. 2021) (J. Sannes)
(holding that "[i]n this country there is a long history of disagreements—scientific and otherwis<
regarding vaccinations and their risk of harm, and courts have repeatedly found that it is for the
legislature, in the light of all the information it had, to choose between opposing theories within
medical and scientific communities in determining the most effective way in which to meet and
suppress public health threats.") (internal citations omitted).
7 Because the Complaint does not distinguish which Plaintiff is advancing which sixty-eight (68)
causes of action, the NPCSD and the Court are led to presume that these claims are being brought
by both Plaintiff and I.R.

                                                  20
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 30 of 49




Strubel v. Comemty Bank, 842 F.3d 181, 187 (2d Cir. 2016). To establish standing, a plaintiff

must allege a "particularized" injury that "must affect the plaintiff in a personal and individual

way." See e.g., Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 n.l (1992); New York

Immigration Coalition, 2019 U.S. Dist. LEXIS 204717 at *9 (J. Hurd). In the instant action, Perez

has not, and cannot, show that she has personal and individual standing to pursue claims that


involve the right to pursue a free public education, bodily integrity, and substantive due process

right to life. It is undisputed that Ms. Perez is not the individual who needs to be vaccinated in

accordance withNYS's compulsory vaccinations in order to attend school, nor is Ms. Perez the


person seeking enrollment in the NPCSD. Accordingly, to the extent that Perez attempts to

advance these causes of action on behalf of herself individually, such claims must be dismissed,


as a matter of law, predicated upon Perez's clear lack of standing.


POINT IV: ALL CLAIMS AGAINST FORMER NPCSD HIGH SCHOOL PRINCIPAL
           MARK) FERNANDEZ MUST BE DISMISSED
       Plaintiffs have named the former NPCSD High School Principal, Mario Fernandez, in his

official capacity only (ECF No. 1 at 1). Remarkably, while the Complaint superfluously advances

sixty-eight (68) separate causes of action (id. at ^ 130-482), apart from naming Fernandez as a


Defendant, the Complaint is completely devoid of any allegations describing purported "unlawful"

actions that are attributable to Fernandez (see id. at ^ 26). Because Plaintiffs are seeking

prospective declaratory and injunctive relief rather than monetary damages, to maintain the


prospective declaratory and injunctive relief sought against Femandez in his official capacity,

Plaintiff's must establish that Fernandez was "responsible for" or had a "direct connection to" the


allegedly unlawful activity. See e.g. , Marshall v. Switzer, 900 F. Supp, 604, 615 (N.D.N.Y. 1995);


Boddie v. Morgenthau, 342 F. Supp. 2d 193,203 (S.D.N.Y. 2004) (citing Loren v. Levy, 2003 U.S.


Dist. LEXIS 4903, *32 [S.D.N.Y. 2003]); see also Al-Jimdi v. Estate of Nelson Rockefeller, 885



                                                21
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 31 of 49




F.2d 1060, 1065 (2d Cir. 1989). It is well-established that an injunction may issue only '"in

circumstances where the state official has the authority to perform the required act.'" Loren, 2003


U.S. Dist. LEXIS 4903 at *32 (quoting Schallop v. New York State Dep't of Law, 20 F. Supp.2d

384, 391 [N.D.N.Y. 1998]). Here, it is unquestionable that Plaintiffs have failed to evince that

Femandez was "responsible for" or had any "direct connection" to the claims Plaintiffs advance


regarding NYS's mandatory school vaccinations and medical exemptions concerning same. In


fact, the Complaint completely fails to assert allegations against Femandez (or any NPCSD

official) in any respect whatsoever. Finally, the fact that Fernandez is no longer employed by the

NPCSD—and that no High School Principal has the authority to make or modify School District

policy or to undermine/fail to comply with New York State's Public Health Law—further confirms

that no relief is available to Plaintiffs against Femandez,

       Notwithstanding the fatal facts articulated above, the Court should dismiss all claims

against Fernandez as being duplicative of those asserted against the NPCSD. It is well-settled in

the Second Circuit that "[c]laims against individual defendants in their official capacities 'are

really just claims against the municipality and, thus, are redundant when the municipality is also

named as a defendant.'" See e.g., Rubeor v. Town ofWright, 191 F.Supp.Sd 198, 208 (N.D.N.Y.


2016) (quoting Zachary v. Clinton Cty., 2003 U.S. Dist. LEXIS 26596, at *5 [N.D.N.Y. 2003]);

see also Hulett v. City of Syracuse, 253 F. Supp. 3d 462, 498-99 (N.D.N.Y. 2017) (holding that

"district courts have regularly dismissed official capacity claims against individuals as redundant

or unnecessary where Monell claims are asserted against an entity."). "The real party in interest


in an offlcial-capacity suit is the governmental entity and not the named official." See e.g., Frank


v. Relin, 1 F.3d 1317, 1326 (2d Cir. 1993) (quoting Hafer v. Melo, 112 S. Ct. 358, 361 [1991]).

Specifically, this principal of redundancy applies to public school employees and warrants




                                                 22
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 32 of 49




dismissal of official-capacity claims against individual parties. See e.g., Booker v. Board of


Education, Baldwinsville Central School District, etal., 238 F.Supp.2d469,475 (N.D.N.Y. 2002)

(dismissing official capacity claims against school of&cials as "redundant to the claims against the

district"); Barmore v. Aidala, 419 F. Supp. 2d 193,202 (N.D.N.Y. 2005) (holding official capacity

claims against school board president were "unnecessarily redundant and must be dismissed"


because the school district was already named as a defendant in the case). In light of the numerous


reasons set forth above, the Court should dismiss all claims asserted against Fernandez.


POINT V: PLAINTIFFS HAVE FAILED TO ESTABLISH SECTION 1983 MONELL
           LIABILITY AGAINST THE NPCSD

        Plaintiffs' challenges to NYS's Public Health Law § 2164 and 10 NYCRR § 66-1.1, as

against the NPCSD, are fundamentally defective due to the demonstrable absence of any "state


action" on the part of the NPCSD officials. As revealed throughout Plaintiffs' prolix Complaint,

the complete lack of any state action by the NPCSD further exemplifies that Plaintiffs' claims

should have been brought—as the allegations in the Complaint even tacitly concede—against the


Federal Government and/or the New York State Legislature (see e.g., ECF No. 1 ^ 14, 45, 49,


63-64, 69, 89,125-129). Critical to this action, while Plaintiffs curiously bring the instant lawsuit

against a school district, the Complaint is remarkably bereft of any "state action" that the NPCSD

engaged in which directly resulted in an alleged deprivation of Plaintiffs' constitutional rights (id.).

       As the Supreme Court in Monell made clear, "a prerequisite to municipal liability" is for


the plamtiff to "show that the challenged acts were performed pursuant to a municipal policy or

custom." See e.g., Monell v. Dep't of Soc. Serv. of New York, 436 U.S. 658, 692-94 (1978);


Patterson v. County ofOneida, 375 F.3d 206, 226 (2d Cir. 2004) (citing Jett v. Dallas Indep. Sch

Dist., 491 U.S. 701, 733-36 [1989]). A State statute "cannot be considered a municipal policy for

purposes of Monell, even if enforced by municipal employees." Scalpi v. Town of E. Fishkill,



                                                  23
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 33 of 49




2016 U.S. Dist. LEXIS 24530, *20-21 (S.D.N.Y. 2016) (emphasis added); accord Whitesel v.

Sengenberger, 222 F.3d 861, 872 (10th Cir. 2000). Moreover, long-standing case law dictates that

"[t]here can be no municipal liability under Monell in the absence of an underlying constitutional

violation." Ameduri v. Vill. ofFrankfort, 2014 U.S. Dist. LEXIS 202569, *2 (N.D.N.Y. 2014)

(quoting Morales v. City of New York, 752 F.3d 234, 238 [2d Cir. 2014]); Segal v. City of New

York, 459 F.3d 207,219 (2d Cir. 2006).

        Importantly, Courts in this Circuit have consistently held that '"a municipality cannot be

liable under Monell if it merely carries out a state law without any 'meaningful' or 'conscious'


choice, because the municipality does not act pursuant to its own policy in that case.'" See e.g.,


McCluskey v. Imhof, 2018 U.S. Dist. LEXIS 161998, *9 (E.D.N.Y. 2018) (citing Vaher v. Town

ofOrangetown, 133 F. Supp. 3d 574, 605-606 (S.D.N.Y. 2015)) (emphasis added); Vives v. City

of New York, 524 F.3d 346, 351-53 (2d Cir. 2008); see also Surplus Store andExch., Inc. v. City

of Delphi, 928 F.2d 788, 791 (7th Cir. 1991) (holding that "[i]t is difficult to imagine a municipal

policy more innocuous and constitutionally permissible, and whose causal connection to the


alleged violation is more attenuated, than the 'policy' of enforcing state law."). In that regard, it


is well-settled that, for purposes of § 1983, "a municipality cannot be held liable solely for the acts

of others" (e.g., the Federal Government, the New York State Legislature, the various Departments


of New York State, and/or private pharmaceutical manufacturers). See e.g., LA. County v.


Humphries, 562 U.S. 29, 35 (2010); Scalpi, 2016 U.S. Dist. LEXIS 24530 at *20-21. The above

authority further compels dismissal of Plaintiffs' claims against the NPCSD, as it is

incontrovertible that NPCSD is merely tasked by the NYS Legislature with enforcing NYS's

compulsory school vaccinations.




                                                  24
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 34 of 49




        As further delineated below (see infra POINT VI), the United States Supreme Court has

affirmed the States' authority to implement, allocate, and enforce compulsory vaccination laws for


well over one-hundred years now. See Jacobson v. Massachusetts, 197 U.S. 11, 37 (1905) ("We


are not prepared to hold that a minority . . . enjoying the general protection afforded by an


organized local government, may thus defy the will of its constituted authorities, acting in good

faith for all, under the legislative sanction of the State."); see also Zncht v. King, 260 U.S.174,


176 (1922); PMUps v. City of New York, 775 F.3d 538, 542-43 (2d Cir. 2015); Doe v. Zucker,

2021 U.S. Dist. LEXIS 28937 at *65-66 (J. Sannes). Pursuant to its lawful authority to delegate

enforcement, the New York State Legislature has mandated that all school districts must abide by

the Public Health Laws by ensuring that all schoolchildren have received the requisite

immunizations or appropriate exemptions to same.


       Plaintiffs' attempt to hold the NPCSD liable for NYS's compulsory vaccinations

requirements is not legally viable. As a threshold matter, it is undisputed that the New York State

Legislature—not the NPCSD—drafted and enacted the challenged Public Health Laws and

accompanying NYS Regulations (ECF No. 1 at ^ 15, 17-19, 24, 125-129). Plaintiffs cannot

rewrite legislative history to manufacture a Monell claim against the NPCSD.

       Moreover, while it is irrefutable that "it is within a state's police power to establish

regulations implementing mandatory vaccine laws and vest local officials [e.g., school districts]


with enforcement authority" (Doe v. Zucker, 2021 U.S. Dist. LEXIS 28937 at *67 (J. Samies)), the

absence of any "state action" in Plaintiffs' case is particularly obvious and exceptional. To that


end, Plaintiffs fail to allege that they ever even submitted a medical exemption request to NPCSD,

nor do they allege that NPCSD ever reviewed or denied same (ECF No. 1 at ^15,17-19,24). In

any event, it is axiomatic that, even had NPCSD been provided the opportunity to review and make




                                                25
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 35 of 49




a determination on Plaintiffs' medical exemption request (which NPCSD was not), the NPCSD

would have merely been doing what it was, and is, required to do under applicable NYS laws, as


opposed to following a policy or custom established directly by the school district. See PHL §

2164(7)(a) ("No prmcipal, teacher, owner or person in charge of a school shall permit any child

to be admitted to such school, or to attend such school, in excess of fourteen days, without the


certificate ... of the child's immunization. . .") (emphasis added); Phillips, 775 F.3d at 540

(holding same); V.D. v. New York, 403 F. Supp. 3d 76, 86-87 (E.D.N.Y. 2019) ("The case law


clearly establishes that conditioning school enrollment on vaccination has long been accepted by

the courts as a permissible way for States to inoculate large numbers of young people.") (internal


citations omitted). Thus, Plaintiffs' Complaint constitutes nothing more than a request to have this

Court direct that the NPCSD violate New York State Laws—a demand which must be summarily

rejected by this Court.

A. The allegations in the Complaint explicitly confirm that Plaintiffs have sued the wrong

parties in this action. In addition to the above, Plaintiffs' Complaint is saturated with allegations

further demonstrating that their challenges to New York State's compulsory vaccination laws


should be redirected against either the Federal Government, New York State, and/or the private


pharmaceutical companies that manufacture vaccines—but most certainly not against the NPCSD.


In fact, the 116-page, 482-allegation Complaint astonishingly lacks any reference to § 1983

municipal liability (see generally ECF No. 1) and, out of the prolix Complaint's remarkable 482-

plus allegations, the only time that NPCSD is even referenced is when it is merely identified as a

party-Defendant (see id. at ^ 26). Similarly, out of the protracted Complaint's 482-plus allegations,

only thirteen (13) are factual allegations concerning Perez or I.R. (see ECF No.l ^ 16, 33-42,


127-128). As discussed above, rather than plead any purportedly unlawful "acts" by the NPCSD,




                                                 26
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 36 of 49




the gravamen of Plaintiffs' Complaint nearly exclusively focuses on the actions and omissions of:


1) Congress; 2) the U.S. Department of Health and Human Services ("USDHH"); 3) the Centers

for Disease Control and Prevention ("CDC"); 4) the U.S. Department of Justice ("USDOJ"); 5)

the Food and Dmg Administration ("PDA"); 6) the New York State Legislature and several New

York State agencies; and 7) various private pharmaceutical/vaccine manufacturers (ECF No. 1 at


^ 15,17-18, 57, 60, 63 n.l, 64, 67, 69-76, 80, 84, 86-89, 93,100-101, 105-108, 113 115, 116-


119, 122, 129, 359, 389-390, 392, 407, 427, 436, 465, 467, 470). Accordingly, Plaintiffs'

Complaint is legally infirm as against the NPCSD and clearly cannot survive the instant motion

under FRCP Rule 12(b).

       Further remarkable to Plaintiffs' theory is the fact that the Complaint fails to allege that

NPCSD was responsible for I.R.'s inability to lawfully em'oll as a student in the upcoming 2021-


22 school year (ECF No. 1 at ^ 26). Rather, the Complaint explicitly acknowledges that, inter

alia: "[tjhe NYSDOH [not the NPCSDJ nonetheless demands that plaintiffs and all other New

Yorkers believe their vaccine claims and submit to such vaccines or else be expelled from school"


(id. at ^l 16); "/V/;e NYSDOH [not the NPCSD] seeks to convince parents of its belief in vaccines

. . ." (id. at ^ 117); "[wjith the repeal of the Religious Exemption on June 13, 2019, every parent

who wants to send their child to school in New York must accept the NYSDOH's [not the

NPCSD'sJ beliefs regarding DTaP/Tdap and IP Tf; (id. at ^ 118). Thus, Plaintiffs explicitly

concede by the numerous allegations contained in their Complaint that the challenged claims do

not involve a policy or custom (or even any state action) of the NPCSD.8 Accordingly, Plaintiffs'

implied Monell claim against the NPCSD fails in all respects as a matter of law.




 Plaintiffs go so far as to admit that "the issues presented in this complaint turn on proof and
evidence, not on the often repeated but never supported claim that DTaP/Tdap vaccines are "safe

                                                27
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 37 of 49



POINT VI: PLAINTIFFS' SIXTY-EIGHT (68) CAUSES OF ACTION AGAINST THE
                NPCSD ARE MEMTLESS AND FAIL TO STATE A CLAIM PURSUANT
                TO FRCP RULE 12(b)(6)
        Even assuming arguendo that all of the arguments set forth above were not fatal to


Plaintiffs' Complaint (which they are), long-standing case law makes clear that Plaintiffs cannot

state plausible causes of action against the NPCSD for: 1) Substantive Due Process Right to Life

and Liberty; 2) Right to Pursue an Education; 3) Free Exercise of Religion; 4) Informed Consent;

5) Parental Choice; and 6) Bodily Integrity. These "anti-vaccination" claims that Plaintiffs

attempt to reiterate before this Court are nothing new and, in fact, these precise types of claims


have unsuccessfully challenged states' vaccination laws for over one-hundred years now. As fully-


demonstrated below, Plaintiffs' claims have been repeatedly and consistently rejected by the U.S.


Supreme Court, Second Circuit, other District Courts within this Circuit and, most recently, again


by this Court. See Jacobson, 197 U.S. at 37; Zucht, 260 U.S. at 176; Phillips, 775 F.3d at 542;

V.D., 403 F. Supp. 3d at 86-87; Doe v. Zucker, 2021 U.S. Dist. LEXIS 28937 at *67 (J. Sannes).


        Preliminarily, Plaintiffs' regurgitate the long-rejected argument throughout their

Complaint that the clauns they attempt to allege against the NPCSD should be afforded strict

scrutiny (ECF No. 1 at ^ 137, 219, 454, 456). However, identical to this Court's very recent

decision in Doe v. Zucker, the genesis of Plaintiffs' claims stem from I.R.'s right to enroll in public


school—a right that is not fundamental and undisputedly triggers only a rational basis review. Doe

v. Zucker, 2021 U.S. Dist. LEXIS 28937 at *63 (J. Sannes); Plyler v. Doe, 457 U.S. 202, 223


(1982). As this Court in Doe v. Zucker recently held with respect to the plaintiffs' challenges to




and effective" and that the "science is settled.'" (ECF No. 1 at ^ 470). Clearly, these types of
scientific/medical issues are not proper issues to advance against the NPCSD.
9 Plaintiffs curiously advance a number of "cumulative" causes of action (i.e., causes of action #8,
#15,#23,#32,#39, #46, #51, and #57) which are identical to Plaintiffs' other enumerated claims
and will therefore be addressed by the same analysis herein.

                                                  28
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 38 of 49



PHL § 2164 and 10 NYCRR 66-1 involving, inter alia, claims of substantive due process, right to

education, bodily integrity, informed consent, and parental choice:


        Thus, after considering a careful description of the rights Plaintiffs assert, the Court
        finds that Plaintiffs have failed to allege the infringement of fundamental rights that
        would trigger strict scrutiny. Accordingly, rational basis review applies, and the
        Court must determine whether the governmental regulation is reasonably related to
        a legitimate state objective. Immediato v. Rye Neck Sch. Dist,, 73 F.3d 454, 461
        (2d Cir. 1996) (citing Reno v. Mores, 507 U.S. 292, 303-06 [1993]); see also
        Molinari v. Bloomberg, 564 F.3d 587, 606 (2d Cir. 2009) ("The law in this Circuit
        is clear that where, as here, a statute neither interferes with a fundamental right nor
        singles out a suspect classification, we will invalidate that statute on substantive
        due process grounds only when a plaintiff can demonstrate that there is no rational
        relationship between the legislation and a legitimate legislative purpose.")

Id. at 71-71. Despite Plaintiffs' efforts to bolster their claims by asserting a remarkable sixty-eight

(68) causes of action (which are overwhelmingly duplicative) against the NPCSD, after wading

through the (extremely limited) material allegations in the prolix Complaint, it becomes apparent

that Plaintiffs' Complaint merely presents yet another unpersuasive attempt to invent "fundamental


rights" from an issue (i.e., the right to pursue a free public education) that is well-settled to only

invoke rational basis review (see id). Accordingly, applicable law makes clear that Plaintiffs have

failed to state a claim against the NPCSD.

A. Plaintiffs' substantive due process claims10 fail as a matter of law. Over one-hundred


years ago, the U.S. Supreme Court in Jacobson v. Commonwealth of Massachusetts mled that a


state's compulsory vaccination requirements did not violate a plaintiffs substantive due process


rights. Jacobson, 197 U.S. at 25-26. Jacobson "rejected the claim that the individual liberty

guaranteed by the Constitution overcame the State's judgment that mandatory vaccination was in


the interest of the population as a whole." Phillips, 775 F.3d at 542 ("Plaintiffs argue that New




10 Plaintiffs' substantive due process claims comprise their 4th-5th, 12th-13th, 19th-20th, 27th-
28th, 35th-36th, 43rd, 47th, 52nd, 61st-62nd, and 67th-68th causes of action (ECF No. 1).

                                                  29
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 39 of 49




York's mandatory vaccination requirement violates substantive due process. This argument is


foreclosed by the Supreme Court's decision in Jacobson."). Jacobson and its standard of review


(i.e., rational basis) regarding states' vaccination requirements remains the law today,


        In 1922, seventeen years after Jacobson, the U. S. Supreme Court again relied on its holding


in Jacobson in rejecting another challenge to mandatory vaccination requirements for public


school students. See Zucht, 260 U.S. at 176. In Zucht, the Supreme Court reiterated that "a state


may, consistently with the federal Constitution, delegate to a municipality authority to determine

under what conditions health regulations shall become operative." Id. (citmg Laurel Hill

Cemetery v. San Francisco, 216 U.S. 358, 366 [1910]). The Supreme Court further held "the

municipality may vest in its officials broad discretion in matters affecting the application and

enforcement of a health law." Zucht, 260 U.S. at 176 (citing Liberman v. Van de Carr, 199 U.S.


552, 561-62 [1905]).

       In 2015, New York State's police powers to enact compulsoiy vaccination laws were


further reiterated by the Second Circuit in Phillips v. City of New York, with specific regard to New

York State Public Health Law § 2164 and the accompanying regulations found in 10 N.Y.C.R.R.

§ 66-1. See Phillips, 775 F.3d at 542. Rejecting another claim of substantive due process, the

Second Circuit in Phillips held that "[p]laintiffs' substantive due process challenge to the

mandatory vaccination regime is therefore no more compelling than Jacobson 's was more than a


century ago." Id; see also Caviezel v. Great Neck Pub. Sch, 500 F. App'x 16, 19 (2d Cir. 2012)


(holding same). The Second Circuit went on to underscore that "no court appears ever to have


held" thatJacobson warrants strict scrutiny. Phillips, 775 F.3d at 542-43 n.5 (emphasis added).

       Just this year, this Court in Doe v. Zucker found that "[i]t is well-settled, as Plaintiffs

acknowledge, that New York's mandatory vaccination law does not violate substantive due




                                                 30
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 40 of 49




process." Doe v. Zucker, 2021 U.S. Dist. LEXIS 28937 at *72-73 (J. Sannes) (citing Phillips, 775

F.3d at 542). Rather, only "the most egregious official conduct" can be construed to violate the


principles of substantive due process" (County of Sacramento v. Lewis, 523 U.S. 833, 846 [1998]),

and "substantive due process standards are violated only by conduct that is so outrageously


arbitrary as to constitute a gross abuse of governmental authority." Natale v. Town ofRidgefield,


170F.3d258,263 (2dCir. 1999). Finally Just a few days ago, the U.S. Supreme Court in Klaassen

reiterated the application of rational basis with respect to states' vaccination laws in accordance


with the holding in Jacobson. See Klaassen, er aA,Dkt. No. 21-2326, Appl. No. 21A15 (Aug. 12,


2021) (Justice Barrett). Akin to the instant matter, Plaintiffs have not, and cannot, satisfy this

exacting standard.


       Here, Plaintiffs challenge limited provisions of NYS's Public Health Law, which the

NPCSD merely followed as it was (and is) required to do. As discussed above, not only is it

undisputed that the New York State Legislature drafted and enacted the compulsory vaccination

requirements (not the NPCSD), but Plaintiffs fail to allege that they ever submitted a medical

exemption request or that NPCSD ever reviewed or denied same. Importantly, even in cases where


the school district did evaluate and ultimately deny a plaintiffs medical exemption application,

this Court (and others) have repeatedly dismissed underlying substantive due process claims on

the grounds that the school districts were merely following applicable State laws. See e.g.. Doe v.


Zucker, 2021 U.S. Dist. LEXIS 28937 at *83 (J. Sannes). Plaintiffs' substantive due process claims


should therefore be dismissed since NPCSD's mere observance ofNYS's Public Health Laws


clearly does not constitute the most "severe" and "egregious" conduct that would result in any


constitutional deprivation.




                                                31
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 41 of 49



        Although it is evident that Plaintiffs' challenges to PHL § 2164 and 10 N.Y.C.R.R. § 66-1

should have been directed against New York State (not the NPCSD or its former principal), it is

notable that Plaintiffs' interpretation as to the application of the underlying laws is erroneous.

Plaintiffs argue that PHL § 2164(8) (i.e., the medical exemption, which Plaintiffs do not expressly

challenge) has been "gutted" by the NYSDOH and limited "to only permitting a medical

exemption if it is based on the CDC's strict contraindication list. And the only basis, under the

CDC's contraindication list for not receiving a DTaP/Tdap or IP V vaccine, is if the child has

already had anaphylaxis (life threatening allergic reaction) or encephalopathy (brain damage) from

a prior dose ofDTaP/Tdap or IPV." (ECF No. 1 at ^ 118). This is an inaccurate construction of

NYS's vaccination laws, as the regulations explicitly provide for medical exemptions where it can


be demonstrated that there is "a medical contraindication or precaution to a specific immunization


consistent with ACIP guidance or other nationally recognized evidence-based standard of care."


See 10 N.Y.C.R.R. § 66-1.1(1) (emphasis added); Doe v. Zucker, 2021 U.S. Dist. LEXIS 28937 at

* 120. Of course, Plaintiffs have not, and cannot, challenge whether the NPCSD correctly applied

NYS's immunization laws since Plaintiffs did not bother to even submit a medical exemption

request for NPCSD's (including NPCSD's medical providers') review. Rather, Plaintiffs elected

to bypass engagement with the NPCSD and instead commenced this federal action with the Court.

       Lastly, with respect to the applicable test triggered by Plaintiffs' claims (rational basis), it

is unquestionable that NYS's compulsory vaccination laws have a "rational connection" to the


State's legitimate interests in promoting and protecting the public's health, safety, and welfare.


See id. (citing Sensational Smiles, LLC v. Mullen, 793 F.3d 281, 284 (2d Cir. 2015) [holding that

"we are required to uphold the legislative decision if there is any reasonably conceivable state of




                                                  32
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 42 of 49




facts that could provide a rational basis for the decision.") (internal citations omitted). It light of

the foregoing, it is clear that Plaintiffs' substantive due process claims must fail as a matter of law.


B. Plaintiffs' right to education claims11 fail as a matter of law. As discussed above, the

gravamen of Plaintiffs prolix Complaint (i.e., the right to pursue a public education) must be

rejected by this Court. Just a few months ago, this Court in Doe v. Zucker dismissed these same


types of challenges to NYS's mandatory vaccination requirements, reemphasizing that "[i]t is well-


established that there is no fundamental right to education, and thus the deprivation of a 'right to

pursue an education/ by itself, does not trigger strict scrutiny. Doe v. Zucker, 2021 U.S. Dist.


LEXIS 28937 at *63 (J. Sannes) (citing Plyler, 457 U.S. at 223); see also Phillips, 775 F.3d at 542

n.5 (holding that "there is no substantive due process right to public education"). As fully-

explained herein, rational basis is the appropriate standard of review for all of Plaintiffs' claims

since the consequence of not complying with NYS's compulsory vaccination requirements (apart


from the health risks associated with being unvaccinated) is the inability to lawfully attend school.

Doe v. Zucker, 2021 U.S. Dist. LEXIS 28937 at *62.


        The Eastern District Court in V.D. recently reiterated that NYS's compelling interests in


vaccination laws are superior to a student's right to a free public education. V.D., 403 P.Supp. 3d


at 87 ("A state's compulsory immunization law is a proper exercise of police power, and such


legislation is supported by a state's strong interests in protecting the public health and welfare.").


In V.D., the plaintiff-parents challenged NYS Public Health Law § 2164's requirements by

claiming the statute violated their children's right to an education and related services pursuant to


the Individuals with Disabilities Education Act ("IDEA"). Id, at 80, 83-84. Following the State's




  Plaintiffs' right to education claims are encompassed in the 7th, 14th, 22nd, 30th, 38th, and 45th
causes of action (ECF No. 1).

                                                  33
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 43 of 49




elimination of the religious exemption, the plaintiffs challenged the statute's validity. See id. The

court in V.D. rejected plaintiffs' challenge to the right to an education, and cited the Second

Circuit's 2015 decision in Phillips, which upheld the constitutionality of New York State's

vaccination laws mandating vaccinations as a legitimate condition for school attendance. Id. at 86


(citing Phillips, 775 F.3d at 543) ("New York could constitutionally require that all children be

vaccinated in order to attend public school."). This Court should follow its recent decision in Doe


v. Zucker and likewise dismiss Plaintiffs' claims involving the right to pursue an education.

       Contrary to Plaintiffs' contentions, because there is no fundamental right to pursue a free


public education, such claims are afforded rational basis review. San Antonio Indep. Sch. Dist, v,


Rodrignez, 411 U.S. 1, *58-59 (1973) (holding the U.8. Constitution neither explicitly nor

implicitly guarantees the right to an education); New York State Asso. for Retarded Children, Inc.

v. Rockefeller, 357 F. Supp. 752,762 (E.D.N.Y. 1973) (holding the alleged denial of a public

education does not infringe upon any fundamental right). The condition that schoolchildren

comply with NYS's vaccination laws irrefutably has a "rational connection" to the State's


legitimate interests in promoting schoolchildren's, the schoolchildren's families, and all school


district employees' health and safety from contagious and potentially fatal infections and diseases.

Moreover, the medical exemption regulations do not directly force parents to consent to


vaccinating their children; the regulations merely condition school enrollment upon the observance


of the laws. See Doe v. Zucker, 2021 U.S. Dist. LEXIS 28937 at *65 (J. Sannes). As Perez


acknowledges, she is free to elect to homeschool I.R., which Perez is currently doing and has done


m the past even prior to NYS's abolishment of the religious exemption (ECF No. 1 at ^ 34-35).

As such, because NYS's vaccination laws clearly satisfy rational basis review. Plaintiffs' claims


regarding the right to pursue an education must be dismissed as a matter of law.




                                                 34
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 44 of 49




C. Plaintiffs9 free exercise of religion claims12 fail as a matter of law. Plaintiffs' free

exercise of religion claims are demonstrably frivolous. Notably, Plaintiffs admit to improperly


using NYS PHL's former religious exemption to circumvent the requirements of the State's


vaccination laws (ECF No. 1 at^f 18-19,118, 125,128). Identifying the statute's former religious

exemption as the "release valve" that Plaintiffs' previously employed to make up for what they


characterize as being an alleged "gap in scientific knowledge with regards to GSK and Sanofi's

DTaP/Tdap and IPV products," the Complaint acknowledges that "Plaintiff, as a parent, therefore

claimed a religious exemption from further vaccination..." (id. at ^ 18,127-128). This apparent


misuse of the former religious exemption is arguably a violation of the State's PHL's and further


illustrates the justification for the NYS Legislature's June 2019 repeal of same in the wake of the

United States' and, particularly, New York's "worst outbreak ofmeasles since 1994"; due, in part,


to documented misuse of the former religious exemption. See N.Y. Assy. Bill No. 2371, Legis. S.


247 (May 22,2019); V.D., 403 F. Supp. at *80-81. In any event, even had NYS's former religious


exemption not been legitimately abolished, germane law plainly forecloses Plaintiffs' attempted

free exercise of religion claims against the NPCSD.

        As an initial matter, Plaintiffs' have failed to allege any sincerely-held religious belief.

Plaintiffs' neither identity any particular religion that they practice, what their unidentified religion

requires, nor why their unidentified religion would prohibit the four required vaccines Plaintiffs'

challenge (yet not the other "boosters" of the same vaccinations that I.R. apparently voluntarily


obtained). Even prior to the NYS Legislature's lawful repeal of the PHL's religious exemption,

the Second Circuit summarily rejected such types of opaque "free exercise" claims. Mason v.




12 Plaintiffs' free exercise of religion claims are found in Plaintiffs' 13th, 21st, 29th, 37th, 44th,
56th, and 63rd causes of action (ECF No. 1).

                                                   35
    Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 45 of 49



General Brown Cent. School Dist., 851 F.2d 47, 52 (2d Cir. 1988) ("Everyone makes basic choices


about where to live, what to eat, and how to raise children. Merely because these decisions are


important, and may be supported by strong conviction, does not render them religious."); see also


Watkim-El v. Dep't ofEduc., 2016 U.S. Dist. LEXIS 139860, *8 (E.D.N.Y. 2016) ("Although

Plaintiff asserts that his religion is 'Islamism' and that he is a Moor, he does not claim that the

tenets of Islamism or Moorish culture prohibit vaccinations. . . Plaintiffs opposition to these


substances may be genuine and sincere, but he has not demonstrated that it stems from a religious,


rather than simply moral, belief."). Further, Plaintiffs' have particularly failed to establish what

"religion" they observe that permits I.R. to be "administered all vaccines required under New York


law to attend school with the exception of one dose ofatetanus, diphtheria and pertussis containing

vaccine and one dose of a polio vaccine" (ECF No. 1 at ^ 1), but not the exact same four vaccines


that Plaintiffs currently challenge.

        The Second Circuit has made clear that NYS PHL § 2164's former religious exemption

went "beyond what the Constitution require[d] by allowing an exemption for parents with genuine

and sincere religious beliefs." Phillips, 775 F.3d at 543 (emphasis in original). Echoing the

Second Circuit's decision in Phillips, the Southern District of California held in 2016 that states

were not required to provide exemptions to compulsory vaccination laws for parents who object


to the law's requirements on religious grounds. JVhitlow v. California, 203 F. Supp. 3d 1079,1086


(S.D. Ca. 2016) (citing PhilUps, 775 F.3d at 543); V.D., 403 F. Supp. at *86-87; see also Workman

v. Mingo Cty. Bd. of Educ., 419 F. App'x 348, 354 (4th Cir. 2011) (affirming district court's

holding that, "although a state may provide a religious exemption to mandatory vaccination, it


need not do so."). As such, under any circumstances, Plaintiffs' free exercise claims must fail as


a matter of law.




                                                36
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 46 of 49




        Most importantly, even had Plaintiffs' plead a sincerely-held religious belief (which they

have not), "[t]he Second Circuit has explicitly held that the immunization requirements of Public

Health Law § 2164 violate neither the Free Exercise Clause of the First Amendment nor the Due

Process clause of the Fourteenth Amendment." Watkins-El, 2016 U.S. Dist. LEXIS 139860 at *7


(citing Phillips, 775 F.3d at 543, aff'dTI F. Supp. 3d 310 [E.D.N.Y. 2014]). The U.S. Supreme

Court has long ago rejected Plaintiffs' free exercise challenge, holding that "[t]he right to practice

religion freely does not include liberty to expose the community or the child to communicable

disease or the latter to ill health or death." Prince v. Massachusetts, 321 U.S. 158, 166-67 (1944).


Contrary to Plaintiffs' allegations, courts have repeatedly held that the NYS Legislature's June

2019 repeal of the religious exemption is not a violation of the First Amendment or Equal

Protection rights and, moreover, is rationally related to achieving the State's legitimate interests in
                                                           ^

promoting the public's health and safety. F.F. v State of New York, 66 Misc. 3d 467, 467 (Sup.

Ct. 2019) (holding NYS "did not violate Equal Protection by leaving in a medical exemption while

removing the religious exemption . . . Vaccination was not expressive conduct under the First


Amendment."), aff'd F.F. v. N.Y., 194 A.D.Sd 80, 84 (3d Dep't 2021). Thus, this Court should


reject Plaintiffs' frivolous free exercise claims.


A Plaintiffs9 parental choice, informed consent, and bodily integrity claims13 all fail as a

matter of law. The Second Circuit has held that, when a parental right is invoked against a state

regulation, '"rational basis review is appropriate'" Immediato v. Rye Neck Sch. Dist., 73 F.3d 454,


461 (2d Cir. 1996); Doe v. Zucker, 2021 U.S. Dist. LEXIS 28937 at *64. As this Court recently

held, "[t]he medical exemption regulations, however, do not directly infringe on any such




  Plaintiffs' informed consent and bodily integrity claims are alleged inthe lst-3rd, 9th-l 1th, 16th-
18th, 24th-26th, 32nd-34th, 40th-42nd, 48th-50th, 53rd-55th, 58th-60th, and 64th-66th causes of
action (ECF No. 1).

                                                     37
    Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 47 of 49



[fundamental] right because they do not force parents to consent to vaccination of their children,"


Doe v. Zucker, 2021 U.S. Dist. LEXIS 28937 at *64. This fact is further demonstrated by

Plaintiffs' acknowledged election to homeschool I.R. in lieu of observing NYS's school


vaccination requirements (ECF No. 1 at ^ 34-35). As indicated above, the consequences of not


complying with NYS's school vaccination laws results only in an inability to lawfully attend

school, which Plaintiffs acknowledge is not a fundamental right (see e.g., id. at ^ 169). For the

reasons set forth below, Plaintiffs' claims cannot stand even as against the NY8 Legislature (whom


Plaintiffs curiously chose not to sue) and, most certainly, not as against the NPCSD officials.

        Plaintiffs' claims concerning parental choice, informed consent, and bodily integrity have

also recently been rejected by this Court. Relying on the United States Supreme Court's decision

mJacobson, this Court in Doe v. Zucker reemphasized the long-standing principle that:


        The Court does not find a basis for Plaintiffs' asserted fundamental right. In this
        country there is a long history of disagreements—scientific and otherwise—
        regarding vaccinations and their risk of harm, and courts have repeatedly found that
        it is for the legislature, in the light of all the information it had, to choose between
        opposing theories within medical and scientific communities in determining the
        most effective way in which to meet and suppress public health threats. Jacobson,
        197 U.S. at 30-31.


Doe v. Zucker, 2021 U.S. Dist. LEXIS 28937 at *65-66 (internal citations omitted); see also

Phillips, 775 F.3d at 542-43 (noting that the "[p]aintiffs argue that a growing body of scientific

evidence demonstrates that vaccines cause more harm to society than good, but as Jacobson made


clear, that is a determination for the legislature, not the individual objectors."). Jacobson


specifically foreclosed bodily integrity claims stemming from a state's vaccination laws.


Jacobson, 197 U.S. at 30 (rejecting theories of people "who think that vaccination causes other


diseases of the body" in favor of the mainstream "high medical authority" possessed by the states'


officials). It therefore follows that, in light of the substantial deference that has long been provided




                                                   38
   Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 48 of 49




to state governmental officials. Plaintiffs' claims regarding parental choice cannot overcome the


compelling interests ofNYS in promoting immunity and protection of the public against serious

infections and/or potentially fatal diseases. See e.g,. Doe v. Zucker, 2021 U.S. Dist. LEXIS 28937


at * 81 ("[I]t is beyond question that state agencies like DOH may vest local officials with the

authority to use appropriate discretion in enforcing these regulations."),


        While it is tme that parents have general rights in the upbringing of their children, it is

well-settled that these rights are not absolute and may be conditioned and regulated when


important state interests are implicated—such as with mandatory state vaccinations. This principal


was revisited in 1944 by the U.S. Supreme Court in Prince v. M.assachusetts, where it was held


that "the state has a wide range of power for limiting parental freedom and authority in things

affecting the child's welfare"—compulsory school vaccinations were found to be one of those


absolute powers of the state. Prince, 321 U.S. at 166 (citing Jacobson, 197 U.S. at 37). Applying


such precedent to the instant action, Plaintiffs have not, and cannot, allege that the State's interests


in enacting and enforcing mandatory school vaccination laws is anything short of compelling (ECF

No. 1 at Tfflf 135, 143, 148, 153, 159, 165, 170, 184, 217, 226, 231, 236, 242 [where Plaintiffs

concede such compelling State interests exist]). Thus, Plaintiffs' claims regarding parental choice


must clearly be dismissed.


       Likewise, the long-standing notion that the NYS Legislature is best-equipped to determine

matters relating to the State's compulsory vaccination laws similarly applies to Plaintiffs' informed

consent claims. Here, Plaintiffs' prolix Complaint—which reads more like a medical journal


containing a (subjective) in-depth analysis and history, including various charts, of the two

challenged vaccines (which protect against four different infections/diseases)—shows that there is

no dispute that Plaintiffs have been fully-informed about NYS's vaccinations and have consulted




                                                  39
      Case 1:21-cv-00706-DNH-CFH Document 15-1 Filed 08/16/21 Page 49 of 49




with their own medical providers and chosen medical literature regarding same (see e.g,, ECF No.


1 at m 31, 47-48, 53, 55). New York Public Health Law § 2805-d(l) defines a lack of informed

consent as follows:


         Lack of informed consent means the failure of the person providing the professional
         treatment or diagnosis to disclose to the patient such alternatives thereto and the
         reasonably foreseeable risks and benefits involved as a reasonable medical, dental
         or podiatric practitioner under similar circumstances would have disclosed, in a
         manner permitting the patient to make a knowledgeable evaluation.


Id.


         Accordingly, there is clearly no legally viable basis to Plaintiffs' claims involving parental

informed consent against the NPCSD. In fact, the superfluously verbose medical and scientific


allegations contained in Plaintiffs' Complaint confirm the opposite of any lack of informed consent

(see also ECF No. 1 at ^ 28). Thus, in light of all the foregoing arguments, Plaintiffs' Complaint

against the NPCSD and its former principal must be dismissed, in all respects, as a matter of law.

                                           CONCLUSION

         WHEREFORE, it is respectfully requested that this Court: 1) grant New Paltz Central

School District's Motion to Dismiss, pursuant to FRCP Rules 12(b)(l) and/or 12(b)(6), in its

entirety; 2) dismiss Plaintiffs' June 15, 2021 Complaint (ECF No. 1); and 3) grant such other and

further relief in New Paltz Central School District's favor as this Court deems just and appropriate.

Dated: August 16, 2021

                                                               Respectfully submitted,


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